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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 8
      UNITED STATES OF AMERICA,
 9
                                   Plaintiff,                 No. CR05-424Z
10
      v.
11
                                                              ORDER
      WADE B. COOK, and LAURA M. COOK,
12
                                   Defendants.
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              This matter comes before the Court on Defendants Wade and Laura Cook’s joint
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     motion to continue the trial date and to request a status conference, docket no. 80. Having
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     reviewed the Defendants’ motion, the government’s opposition and supplemental opposition,
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     docket nos. 81 and 82, and Defendants’ reply, docket no. 83, the Court enters the following
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     Order.
20
     BACKGROUND
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              On April 7, 2006, the Court entered an Order Setting Trial Date (“Order”), which
22
     stated in relevant part as follows:
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              The Court finds, pursuant to 18 U.S.C. § 1361(8)(B)(ii), that this case is
24            unusual and complex due to the nature of the prosecution demonstrated by the
              large volume of discovery, the large number of witnesses, the number of tax
25            years involved, and the need for experts. In addition, counsel for the
              defendants have several other trials already scheduled which limits their
26            availability. The continuance granted here is necessary to permit the
              defendants’ continuity of counsel and lack of a continuance would deny those

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 1          attorneys time necessary for effective preparation for this criminal trial, taking
            into account the exercise of due diligence. As a result, it is unreasonable to
 2          expect adequate preparation for trial within the time limits established under
            the speedy trial act, 18 U.S.C. § 1361.
 3
                    The Court therefore finds that the ends of justice served by continuing
 4          this trial outweighs the best interest of the public and the defendants in a
            speedier trial, and that the period of delay resulting from this continuance, from
 5          March 13, 2006, until January 16, 2007, is exludable time pursuant to 18
            U.S.C. § 3161(8)(A).
 6

 7   Docket no. 67. At the time the Court entered the Order, the Court was aware that the
 8   discoverable materials included over 1800 boxes held at various locations by the United
 9   States Attorney’s Office, along with several electronic hard drives and promotional materials
10   from Wade B. Cook seminars. See Calfo Decl.
11          Since issuing the Order, the government has come into possession of approximately
12   35-40 additional hard drives once owned by Wade Cook Financial Corporation (“WCFC”).
13   Additionally, the government became aware of, and disclosed the existence of, an additional
14   storage facility containing 300-400 boxes of related documents. Also, the Court previously
15   made provisions for an electronic discovery database to allow the government and
16   Defendants easier access to the documentary evidence in this case; that database is now
17   scheduled for completion in mid-to-late October. Finally, since issuing the Order,
18   Defendants’ counsels’ trial schedule has opened up considerably. Defendant Wade Cook’s
19   counsel is no longer scheduled for what was anticipated to be a three-month trial
20   commencing in September 2006, and Defendant Laura Cook’s counsel anticipates that a trial
21   previously scheduled to begin on October 31, 2006, will be continued until Spring 2007.
22   DISCUSSION
23          The decision to grant or deny a requested continuance lies within the broad discretion
24   of the district court. United States. v. Flynt, 756 F.2d 1352, 1358 (9th Cir. 1985). “In
25   deciding whether to grant a continuance a district court must balance (1) whether the
26   continuance would inconvenience the witnesses, the court, counsel, or the parties; (2)


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 1   whether other continuances have been granted; (3) whether legitimate reasons exist for the
 2   delay; (4) whether the delay is the defendant's fault; and (5) whether a denial would
 3   prejudice the defendant.” United States v. Fowlie, 24 F.3d 1059, 1069 (9th Cir. 1994).
 4   Additionally, “the Speedy Trial Act assigns district courts an independent responsibility to
 5   protect both the defendant’s and the public’s strong interest in the timely administration of
 6   justice.” United States v. Hall, 181 F.3d 1057, 1062 (9th Cir. 1999).
 7          Defendants contend that a continuance of the trial date and/or the relevant pretrial
 8   deadlines is necessary because of the newly disclosed evidence, the delay in completing the
 9   electronic discovery database, and the government’s previous motion to review documents
10   selected for copying by Defendants. The government opposes the motion, arguing that
11   ample time remains to review all disclosed materials, the electronic database is not a
12   necessary tool of trial preparation, and Defendants will not be, and have not been,
13   prejudiced.
14          Having carefully reviewed the changes in circumstances since the Court issued the
15   Order in April 2006, the Court finds that no continuance is warranted. First, in setting the
16   January 2007 trial date, the Court took into account (1) the large volume of discovery, (2) the
17   large number of witnesses, (3) the number of tax years involved, (4) the need for experts, and
18   (5) Defendants’ counsel’s then-pending trial calendars, which included “several other trials
19   already scheduled which limits their availability.” See Order at 1. The Court finds that
20   counsel will not be overly-inconvenienced by the newly disclosed documents and electronic
21   materials. Second, the Court notes that it previously granted Defendants’ request for a
22   lengthy continuance of the trial date (over the government’s objection). Third, the Court
23   notes that, at the time of disclosure of the newly discovered materials, there remained
24   approximately six months before trial. Fourth, the Court has previously recognized the need
25   for experts. The government has, at this early date, disclosed all of its expert witnesses and
26   provided Defendants’ with the reports of those experts. Defendants have had, and will have,


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 1   ample opportunity to procure experts. Finally, the Court finds that any potential prejudice
 2   caused by the newly disclosed materials and delay in creating the electronic discovery
 3   database is alleviated by the changes in Defendants’ counsels’ trial calendar. Moreover, the
 4   materials in question are now apparently available for review, albeit not in the rapidly-
 5   searchable form Defendants’ suggest they need to proceed with this case. The Court finds
 6   that the Defendants’ will not be prejudiced simply because they have to search some portion
 7   of the existing documents in hard-copy form.
 8   CONCLUSION
 9          In sum, the Court concludes that the factors identified in Fowlie, along with the policy
10   favoring the public’s interest in the timely administration of justice, weigh heavily in favor of
11   maintaining the current trial date and pretrial deadlines. Accordingly, the Court DENIES
12   Defendants’ joint motion to continue the trial date and to request a status conference.
13   Docket no. 80.
14          IT IS SO ORDERED.
15          DATED this 31st day of August, 2006.
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                                                       A
                                                       Thomas S. Zilly
                                                       United States District Judge
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     ORDER -4-
